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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA

              Plaintiff,

       v.                                                  Case No. 10-20388
                                                           Honorable Mark A. Goldsmith
D-1    LAMONTE WATSON, JR.,
D-2    ISAAC DENEL MEEKS,
D-3    SHAWN RENARD SMITH,
D-4    TIMOTHY GRAYSON,
D-5    ANTONIO WATSON,
D-6    HANSEL WILLIAMS,
D-7    TERRANCE ALEXANDER,
D-8    VOURICE MEEKS,
D-9    DUANE WILLIAMS,
D-10   DAMICHAEL WASHINGTON,
D-11   TRENCE WOODS,
D-12   LEMETRIUS KNAPP,
D-13   ROQUAN WESLEY,

            Defendants.
____________________________________/

ORDER (1) CONCERNING DOCKET ENTRY NOS. 140, 141, 235, 236, 237, 253, 264, (2)
RESCHEDULING THE HEARING FOR DOCKET ENTRY NOS. 255, 256, 275, AND (3)
SETTING FOR RENEWED HEARING DOCKET ENTRY NOS 186, 189, 190, AND 192

       This matter is before the Court on the following motions:

       1)     Defendant Lamonte Watson, Jr.’s “Motion Objecting to Penalty
              Enhancement Filed Pursuant to 21 U.S.C. Section 851” (docket entry
              (D.E.) 235).
       2)     Defendant Lamonte Watson, Jr.’s “Motion to Require Government to
              Produce Names of Confidential Sources” (D.E. 236).
       3)     Defendant Lamonte Watson, Jr.’s “Motion to Merge Counts III and IV of
              the Indictment Based on Multiplicity of Counts” (D.E. 237).
       4)     Defendant Lamonte Watson, Jr.’s pro se motion for new counsel (D.E.
              246).
       5)     Defendant Roquan Wesley’s “Motion for Severance” (D.E. 253).
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       6)     Defendant Lamonte Watson, Jr.’s request for an “Order Requiring
              Government’s Stipulation Regarding Count VI Pursuant to Old Chief [v.]
              United States[, 519 U.S. 172 (1997)]” (D.E. 264).

In addition, two motions previously before the Court remain pending:

       1)     Defendant Terrance Alexander’s “Motion for Notice Under Rules 404(b)
              and 609 of the Federal Rules of Evidence” (D.E. 140)
       2)     Defendant Terrance Alexander’s “Motion and Demand for Disclosure of
              Exculpatory Evidence and Rule 16 Discovery Materials” (D.E. 141).

       The Court held a hearing on all of the above motions on March 2, 2011. The Court also

met with counsel in chambers after the hearing regarding scheduling issues. The Court orders as

follows.

       Docket entry 235

       Pursuant to counsel’s request, the hearing was adjourned with regard to Defendant

Lamonte Watson, Jr.’s “Motion Objecting to Penalty Enhancement Filed Pursuant to 21 U.S.C.

Section 851” (D.E. 235). The hearing on this motion is continued to Wednesday, March 23,

2011 at 9:30AM. Defense counsel is directed to submit any additional documentation it wishes

the Court to consider by Wednesday, March 9, 2011. Any response by the government is due by

Wednesday, March 16, 2011.

       Docket entries 237 & 264

       The Court heard arguments regarding Defendant Lamonte Watson, Jr.’s “Motion to

Merge Counts III and IV of the Indictment Based on Multiplicity of Counts” (D.E. 237) and

request for an “Order Requiring Government’s Stipulation Regarding Count VI Pursuant to Old

Chief [v.] United States[, 519 U.S. 172 (1997)]” (D.E. 264). These motions are taken under

advisement.




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       Docket entry 246

       At the hearing, Defendant Lamonte Watson, Jr. withdrew his pro se motion requesting

new counsel (D.E. 246).

       Docket entry 253

       Pursuant to counsel’s request, the hearing was adjourned with regard to Defendant

Roquan Wesley’s “Motion for Severance” (D.E. 253). The hearing on this motion is

continued to March 23, 2011 at 9:30AM.

       Docket entries 140, 141, & 236

       The Court heard argument concerning Defendant Terrance Alexander’s “Motion for

Notice Under Rules 404(b) and 609 of the Federal Rules of Evidence” (D.E. 140), Defendant

Terrance Alexander’s “Motion and Demand for Disclosure of Exculpatory Evidence and Rule 16

Discovery Materials” (D.E. 141), and Defendant Lamonte Watson, Jr.’s “Motion to Require

Government to Produce Names of Confidential Sources” (D.E. 236).1 These motions remain

pending.   After the hearing on March 23, 2011 at 9:30AM, the Court will hold a status

conference with counsel to receive an update on any progress concerning the issues underlying

these motions.

       Docket entries 255, 256, & 275

       Motions to Suppress by Defendant Timothy Grayson (D.E. 255), Defendant Antonio

Watson (D.E. 256), and Defendant Lamonte Watson, Jr. (D.E. 275) had been previously

scheduled for hearing on March 30, 2011 and April 5, 2011. After consulting with counsel, the

Court will reschedule the hearing on these motions to March 23, 2011 at 9:30AM.



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 The Court notes that it received supplemental briefing concerning docket entries 140 and 141
from Defendant Terrance Alexander (D.E. 270) and Defendant Timothy Grayson (D.E. 272),
along with a supplemental response from the government (D.E. 280).

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       Renewed hearing -- docket entries 196, 189, 190, & 192

       The Court notes that it previously heard arguments regarding Defendant Damichael

Washington’s motion for an Enright hearing, (D.E. 190), Defendant Damichael Washington’s

motion for a bill of particulars (D.E. 189), Defendant Damichael Washington’s “Motion for

Disclosure of, and to Limit the Scope of, Expert Testimony Regarding Drug ‘Lingo’ or ‘Code’”

(D.E. 186), and Defendant Antonio Watson’s “Motion to Limit Expert Testimony” (D.E. 192).

The Court indicated that it would rule on these motions after having received the government’s

offer of proof and any responses to it. The Court sets a renewed hearing on these motions for

March 23, 2011 at 9:30AM for the purpose of addressing the implications of the offer of proof

for those motions.

       IT IS SO ORDERED.

Dated: March 3, 2011                                s/Mark A. Goldsmith
                                                    MARK A. GOLDSMITH
                                                    United States District Judge


                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court=s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on March 3, 2011.

                                                    s/Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager




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